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DECLARATION OF THOMAS A. DIBIASE

I, Thomas A. DiBiase, have personal knowledge of the following facts and will testify to

them, if called to do so:

1.

I have been the General Counsel for the United States Capito] Police (““USCP” or
“Department”) since August of 2020. From October 2019 to August of 2020, I served as the
Acting General Counsel, and from April of 2010 to October of 2019, I served as the Deputy
General Counsel. Between 1991 and 2010, I worked as a litigator at two District of
Columbia law firms and served for 12 years as an Assistant United States Attorney at the
United States Attorney’s Office for the District of Columbia.

As part of my duties at the USCP, I have authorized the release of camera footage from the
Department’s extensive system of cameras on U.S. Capitol Grounds (“Grounds”). These
cameras, part of a sophisticated closed circuit video (CCV) system, are resident both inside
and outside the buildings including the U.S. Capitol itself and the other Congressional office
buildings on the Grounds. This CCV system provides the backbone of the security for the
U.S. Capitol Grounds. The CCV system is monitored by sworn police officers 24-7 in our
Command Center and is relied upon to provide real time information regarding any incident
occurring on the Grounds. The first step whenever an incident occurs is for the Command
Center to pull up the CCV cameras closest to the incident. This enables the Department to
have a real-time view of the incident and provides an additional layer of safety for our
officers when responding to any incident.

Access to this CCV system is strictly limited. Because the system is a closed circuit, access
to the cameras only occurs from dedicated workstations and monitors located in a handful of

locations on the Grounds. Our system is not “in the cloud” and may not be monitored or
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hacked by anyone not connected via a dedicated workstation and monitor.

._ The disclosure of any footage from these cameras is strictly limited and subject to a policy
that regulates the release of footage. Per Department Directive 1000.002, Retrieval of
Archived Video (see Attachment 1), the release of any footage from the Department’s CCV
system must be approved by the Assistant Chief of Police for Operations, the Department’s
second highest sworn officer. The Directive notes that, “(t]he Capitol Police Board [which
oversees the USCP] directed that cameras would only be used for matters related to national
security and legitimate law enforcement purposes (e.g., serious crimes). The [Assistant Chief
of Police for Operations] is the sole authority for the approval of any and all requests for
archived video footage. ...” The Directive goes on to note that, “[v]ideo footage received
through an approved request shall not be delivered, copied, or transmitted to anyone other
than necessary parties (e.g., court, General Counsel) without approval from the [Assistant
Chief of Police for Operations].”

. There is a specific Department form, a CP-411 (Attachment 2), which must be completed and
signed by several officials including the Assistant Chief of Police for Operations before any
camera footage can be released.

. As part of my duties as General Counsel and my prior duties as the Deputy General Counsel,
I have often been consulted regarding the release of camera footage. The Office of the
General Counsel has consistently taken a restrictive view of releasing camera footage in
cases other than serious crimes or national security. We regularly deny footage to civil
plaintiffs who may have been involved in accidents on the Grounds unless they involved
serious injuries or death. (Even in those cases, I have only approved an attorney or

investigator coming to the USCP and viewing the footage in our offices with a USCP
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employee present.) We are also often asked for camera footage related to non-USCP
administrative investigations, and we generally do not provide that footage. We will,
however, allow investigators from agencies with which we regularly work, such as the
Architect of the Capitol, to view such footage in the presence of a USCP employee. Even a
member of Congress looking to view footage of our officers’ interactions with his staff had
to come to our office and view the footage with our employees present.

7. In 2014, the USCP, with the assistance of the District of Columbia’s Office of the Attomey
General (OAG), litigated the release of USCP camera footage in Driving under the Influence
(“DUI”) cases. The Department successfully argued that any footage of a DUI defendant,
including arrest footage and footage of the defendant being processed in our prisoner
processing area, should be subject to a protective order. Since 2015 the Department provides
any relevant DUI arrest footage to the OAG who in turn provides it to the defendant subject
to a protective order. (A sample protective order in a DUI case along with a sample motion is
attached as Attachments 3 and 4.) As noted in this protective order, an attorney for a DUI
defendant “may only show the street video to the defendant and any investigators working on
this case and shall not share street video nor show it to any other person not directly affiliated
with this case...” (Attachment 3 at 1.) The order further notes that the attomey for a DUI
defendant may not “reproduce, share, disseminate, nor discuss with any person not named in
this Order, the depictions shown in the video; and ... must return the street video to the
[OAG] after the later of a plea, trial or sentencing in the above-entitled case.” Jd.

8. As noted in the motion for these protective orders, the OAG argues that:

Here, the release of Capitol security street videos could compromise USCP’s
ability to protect the Capitol. The USCP’s primary mission is to police the United

States Capitol Buildings and Grounds, and it has the power to enforce the laws of
the District of Columbia pursuant to 2 U.S.C. §1961. As part of its policing
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responsibilities, the USCP maintains and controls a series of video surveillance
cameras throughout the Capitol Grounds. The purpose of the cameras is to assist
in the maintenance of national security by detecting threats to U.S. Congressmen,
their staff, and constituents, deterring and preventing terrorism, and providing for
the safety and security of the Capitol Buildings and Grounds. The cameras are
generally not used to collect evidence in criminal matters.

(Attachment 4 at 3.)

9. It is my understanding that these protective orders are regularly signed by District of
Columbia Superior Court judges, and the USCP has provided hundreds of videos pursuant to
these orders since 2015.

10. 1 am familiar with the production of camera footage related to the attempted insurrection at
the U.S. Capitol on January 6, 2021. Soon after the events of January 6, the Department
knew that its footage of the riots would be essential to both the criminal prosecutions arising
out of the events as well as to assist Congress and possibly other entities to understand how
such a vast breach of security could occur. The Department immediately preserved all the
footage from that date, starting at noon and continuing until 8:00 p.m.! This footage? was
then provided to two distinct groups: Congressional entities and non-Congressional entities.

11, The two main Congressional entities that requested the eight hours of footage were the
Senate Rules Committee (“Rules”) and the Committee on House Administration (“CHA”).
Rules and CHA are the primary oversight bodies of the USCP, and the Department provided

the total footage from the eight-hour period to them.’ In addition, in response to a request

from the House of Representatives General Counsel, the Department provided numerous

’ Without affirmative preservation, all Department footage is automatically purged within 30 days.
* The total of footage provided is over 14,000 hours.

? In response to later requests from both committees, the Department provided footage from the entire 24-hour
period for January 6, 2021.
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clips from our footage to the House Impeachment Managers who were prosecuting the case
against former President Donald J. Trump.

12. The Department also provided the complete footage from the eight-hour period to two non-
Congressional entities, the Federal Bureau of Investigation (“FBI”) and the D.C.
Metropolitan Police Department (“MPD”), to assist in the investigation and prosecution of
the cases arising out of the events of January 6, 2021.’ It is our understanding that it is this
footage for which the United States now seeks a protective order. When the Department
provided its CCV camera footage to the FBI and MPD, it did so subject to several
restrictions. The footage was: (a) to remain in the legal control of the USCP; (b) not to be
subject to the Freedom of Information Act; and (c) to be returned to the USCP at the
conclusion of any investigation. These restrictions did not apply to any footage used as
“evidence or discovery as part of any prosecution of any criminal offense.” (Attachment 5 at
1, and Attachment 6 at 1.)

13. The Department has not provided this footage to any other entity other than those listed
above. Any public release of this footage, to the extent there has been, is not because of any
authorized release by the USCP. (Note that the use of footage by the House Impeachment
managers during the trial was permitted since, as a part of the Legislative Branch, the House
Impeachment managers have a right to use footage from our cameras for impeachment
processes similar to what would be show in a court of law.) It is important to note the wealth
of publicly available footage that comes from non-USCP sources such as social media posts,
footage recovered from indicted or arrested insurrectionists and footage from body wom

cameras from other police departments that responded on January 6, 2021. Notably,

4 The Department has provided a very limited number of video clips to the U.S. Attorney's Office for the District of
Columbia for an investigation related to potential January 5" incidents.

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published footage that contains sound is not from USCP, as our CCV system does not record
sound. Further, USCP officers de not wear body cameras, and thus any published body-worn
camera footage is from other police departments.

14. The Department has significant concerns with the release of any of its footage to defendants
in the Capitol attack cases unless there are safeguards in place to prevent its copying and
dissemination. The Department is aware of efforts made before January 6, 2021, by such
defendants and others, to gather information regarding the interior of the U.S. Capitol,
including references to the tunnels below the Grounds and maps of the building’s layout,
which information is generally not publically available.* Our concern is that providing
unfettered access to hours of extremely sensitive information to defendants who have already
shown a desire to interfere with the democratic process will result in the layout,
vulnerabilities and security weaknesses of the U.S. Capitol being collected, exposed and
passed on to those who might wish to attack the Capitol again.

15. Pursuant to 2 U.S.C. § 1979, USCP information designated as “security information” may
only be released with the approval of the Capitol Police Board. Security information is
defined as information that:

(1) is sensitive with respect to the policing, protection, physical security,
intelligence, counterterrorism actions, or emergency preparedness and
response relating to Congress, any statutory protectee of the Capitol Police,

and the Capitol buildings and grounds; and

(2) is obtained by, on behalf of, or concerning the Capitol Police Board, the
Capitol Police, or any incident command relating to emergency response.

16. At this juncture, the Department in consultation with the Capitol Police Board, has

designated only a small subset, consisting of less than 17 hours of footage, as “security

5 Indeed, the Architect of the Capitol treats its “blueprints” of the Capitol as “security information” under 2 U.S.C.
$1979, see below.
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information,” as that footage relates to evacuation of Members from their respective
chambers on January 6. In addition, the Department is concerned that defendants may be
provided access to large sections of footage or even all of the footage, and would deem such
information, in the aggregate, to constitute “security information” under 2 U.S.C. § 1979.
The ability of the defendants to copy or disseminate such footage would provide the
defendants or others to whom it is released with a clear picture of the interior of the Capitol,
including entry and exit points, office locations, and the relation of the crucial chambers and
offices (such as the Speaker’s Office or Majority Leader’s Office) to other areas of the

Capitol.®

I declare under the penalty of perjury under the laws of the United States of America that
the foregoing is true and correct.

eo
Executed on this IF day of March 2021.

Thomas A. DiBiase

® The aggregating of information as creating a national security risk is known as the Mosaic Theory. See,
https://en.wikipedia.org/wiki/Mosaic_theory_of intelligence gathering, last accessed March 2, 2071.

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